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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


THERESA CHlEFF ALL a-CRAIG                              *
                                                        *
                                                        *
             v.                                         *           Civil No. - JFM-14-1 199
                                                        *
RELIANCE STANDARD LIFE INS. CO.                         *
                                                     ******
                                               MEMORANDUM


        In response to defendant's motion to dismiss plaintiffs complaint, plaintiff (who is

appearing pro se, has stated that he was not aware until June 27, 2014 about the limitations

provision upon which defendant relies. Defendant has not filed a reply to plaintiff's response.

Accordingly, defendant's motion to dismiss is denied. Of course, if the factual record

established after the conducting of discovery establishes that plaintiff should have been aware of

the limitations provision, defendant may file a motion for summary judgment.




Date:   ~   ft." J 1'1                         /5/
                                              J. Frederick Motz
                                              United States District Judge




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